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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.



    PLAINTIFFS’ OPPOSITION TO DEFENSE COUNSEL’S MOTION TO WITHDRAW
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         Plaintiffs respectfully submit this memorandum in opposition to the motion of Elmer

  Woodard and James Kolenich (“Defense Counsel”) to withdraw as counsel for Defendants Robert

  Ray and Matthew Heimbach (ECF Nos. 372–73).

                                   PRELIMINARY STATEMENT

         While courts typically permit counsel to withdraw from representations in civil matters,

  the Fourth Circuit has recognized that denial of a request to withdraw is appropriate where counsel

  is essential to the administration of justice and withdrawal will be disruptive to the litigation. That

  case is present here.

         Defendants Ray and Heimbach are key Defendants:                they planned for violence on

  August 11 and 12 in Charlottesville; they coordinated with each other and other co-Defendants to

  ensure violence would occur; they were present in Charlottesville on August 11 and 12; and they

  performed violent and/or threatening actions in Charlottesville that are directly at issue in this case.

  Nonetheless, both Defendants have failed to meaningfully engage in discovery, requiring Plaintiffs

  to seek the Court’s assistance. Indeed, neither Defendant Ray nor Defendant Heimbach has

  produced a single document in response to Plaintiffs’ document requests, which were served in

  January.

         Enforcing compliance with the Court’s orders and conducting orderly discovery in this

  case would be rendered impossible without Defense Counsel. Pursuant to the Court’s recent order

  on Plaintiffs’ motion to compel, Defendants Ray and Heimbach must turn over their devices and

  have their data reviewed and produced. The parties will, over the course of the next several

  months, take dozens of depositions, including significant third-party discovery. Absent Defense
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  Counsel, it is doubtful that Defendants Ray and Heimbach can meaningfully participate in

  discovery without significantly delaying the litigation.

         Moreover, this case is of a highly sensitive nature. That is one of the reasons this Court

  granted John Doe status to one of the Plaintiffs and why the parties have all acknowledged the

  need to maintain certain documents and information as attorneys’ eyes only. The case will be

  rendered significantly more difficult to administer without Defense Counsel to maintain that

  confidentiality.

         For these reasons, as set out further below, Plaintiffs respectfully submit that Defense

  Counsel’s motion to withdraw should not be granted if that means Defendants Ray and Heimbach

  would be proceeding pro se.

                                          BACKGROUND

         Defendants Ray and Heimbach are key members of the violent conspiracy alleged by

  Plaintiffs. Defendant Ray, a writer for Daily Stormer, repeatedly encouraged others to attend the

  “Unite the Right” rally on August 11 and 12. (Am. Compl. ¶ 62.) To help coordinate their violent

  plans, Defendant Ray set up “meet ups” and chat rooms through Daily Stormer that Defendants

  and their co-conspirators were instructed to use throughout the weekend. (Id. ¶ 84; see also Mem.

  & Op. Granting and Den. in Part Defs.’ Mot. to Dismiss, ECF No. 335 at 5.) Speaking on behalf

  of Defendants, Defendant Ray explained during the August 11 “tiki torch” rally that their goal was

  to “stop” the “usurp[ation]” of “our country” “by a foreign tribe called the Jews.” (Am. Compl. ¶

  88.) Defendant Ray directed his followers to bring tiki torches, pepper spray, flag poles, flags and

  shields to the August 11 and 12 events. (Id. ¶ 118; see also Mem. & Op. Granting and Den. in

  Part Defs.’ Mot. to Dismiss, ECF No. 335 at 30.)




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         As the chairman of Defendant Traditionalist Worker Party (“TWP”), and co-chairman of

  Defendant Nationalist Front, Defendant Heimbach was also a key leader of the conspiracy. (Am.

  Compl. ¶ 31.) Featured on the poster promoting the “Unite the Right” rally (id. ¶ 327), Defendant

  Heimbach marched with and led Defendants TWP and League of the South during the August 12

  rally (id. ¶ 200). Both Defendants Ray and Heimbach were active participants on Discord and

  participated in the violence that occurred on August 11 and 12. (Id. ¶ 74.)

         Notwithstanding their critical role in the conspiracy, neither Defendant Ray nor Defendant

  Heimbach has produced a single document in this case (see ECF No. 365-1 at 2), and neither timely

  served their responses to Plaintiffs’ discovery requests (see ECF No. 354 at 3). Most recently, the

  Court ordered that Defendants, including Ray and Heimbach, turn over their devices so that they

  can be imaged and the data collected, reviewed, and produced.

         On October 16, 2018, Defense Counsel moved the Court to withdraw as attorneys for

  Defendants Robert Ray, Christopher Cantwell, and Matthew Heimbach (ECF No. 357), stating

  that they were “no longer willing to represent defendants Ray, Cantwell, or Heimbach.” (ECF No.

  358.) The only purported justification Defense Counsel gave for their proposed withdrawal was

  that Defendants were “each in breach of their contractual obligation to pay attorney fees” and that

  each Defendant “was contacted and expressed either an inability or an unwillingness to pay the

  amounts due.” (Id. at 1.) On October 19, 2018, Defense Counsel recalled their motion to withdraw

  for Defendant Cantwell after he brought “his account current.” (ECF No. 361.)

         By Order dated October 22, 2018, the Court denied Defense Counsel’s motion to withdraw

  without prejudice as to Defendants Ray and Heimbach. (ECF No. 364.) Noting that the motion

  to withdraw was filed on “the deadline to respond to Plaintiffs’ motion to compel,” the Court stated

  that “the Motion to Withdraw [was] not well taken.” (Id. at 2–3.) While the Court acknowledged




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  that Defense Counsel were “not obligated to represent Robert Ray and Matthew Heimbach without

  compensation,” the Court found the timing of their withdrawal to be prejudicial. (Id.) Thus, the

  Court denied Defense Counsel’s motion without prejudice and ordered Defense Counsel to

  respond to the motion to compel on behalf of Defendants Ray and Heimbach. The Court allowed

  Defense Counsel to renew their request to withdraw after responding to the motion to compel. (Id.

  at 3.)

           On November 5, 2018, Defense Counsel submitted a renewed motion to withdraw as

  attorneys for Defendants Ray and Heimbach that was identical to their first motion to withdraw.

  (ECF No. 372.) As before, the only purported justification Defense Counsel gave for their motion

  was that Defendants were “each in breach of their contractual obligation to pay attorney fees” and

  that each Defendant “was contacted and expressed either an inability or an unwillingness to pay

  the amounts due.” (ECF No. 373 (“Motion” or “Mot.”) at 1.) Counsel have provided the Court

  with no indication whether Defendants Ray and Heimbach intend to assume their own defense or

  retain new counsel upon Defense Counsel’s withdrawal.

                                             ARGUMENT

  I.       The Court Should Consider Denying the Motion at This Juncture Because
           Withdrawal Would Have a Significant Disruptive Impact on this Litigation.

           In the Fourth Circuit, district courts considering a motion to withdraw must determine

  whether “the attorney’s presence is . . . essential to the administration of justice.” Towns v. Morris,

  50 F.3d 8, 1995 WL 120687, at *2 (4th Cir. Mar. 22, 1995) (unpublished table decision) (per

  curiam) (citations omitted).     A district court may also “consider the disruptive impact the

  withdrawal would have.” Patterson v. Gemini Org., Ltd., 238 F.3d 414, 2000 WL 1718542, at *2

  (4th Cir. Nov. 17, 2000) (unpublished table decision) (per curiam). While withdrawal at some




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  later point may not be as disruptive, Plaintiffs respectfully submit that the disruptive impact of

  withdrawal in this discovery stage of the litigation warrants denial of the motion at this time.

         Since the outset of this litigation, issues have arisen concerning Defendants Ray and

  Heimbach’s discovery responses that the parties would not have been able to resolve without the

  participation of Defense Counsel. For example, when Defendant Heimbach was arrested and

  imprisoned in March of this year for assaulting his wife and Defendant Parrott, see Marwa

  Eltagouri and Avi Selk, How a white nationalist’s family came to blows over a trailer tryst, WASH.

  POST (Mar. 14, 2018), https://www.washingtonpost.com/news/post-nation/wp/2018/03/13/white-

  nationalist-leader-matthew-heimbach-arrested-for-domestic-battery/?utm_term=.c9aab21cc1ac,

  he failed to respond to Plaintiffs’ discovery requests. Plaintiffs only learned that Mr. Heimbach

  was incarcerated through Defense Counsel, who was able to reach him in prison. (June 13, 2018

  Email from J. Kolenich to C. Greene.) 1 Had Defendant Heimbach been unrepresented, Plaintiffs

  would not have known whether Defendant Heimbach had received their deficiency letter, whether

  he intended to respond, or the timeline of any anticipated response.

         The participation of Defense Counsel is particularly critical at this time because Defendants

  Ray and Heimbach have failed to produce even a single document and have missed important

  deadlines. Defense Counsel will be integral if the Court’s interference continues to be necessary

  to enforce Defendants’ discovery obligations. (See, e.g., ECF No. 379; ECF No. 354, n.1; id. at 4;

  see also ECF No. 365-1 (detailing deficiencies in, inter alia, Defendant Ray and Heimbach’s




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          We have omitted this e-mail from this public filing because counsel for Defendants
  designated its contents as Highly Confidential pursuant to the Confidentiality Order. Plaintiffs
  omit this e-mail without waiver of any objection to Defendants’ designation. Should the Court
  wish to review the omitted e-mail, Plaintiffs are prepared to file it under seal or in any manner
  the Court prefers.


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  production).) Indeed, it is a reasonable expectation that the absence of Defense Counsel will only

  further delay discovery in this case.

         Moreover, because of the highly sensitive nature of this case, the parties and the Court

  agreed eleven months ago to a carefully designed confidentiality order. (See January 3, 2018 Order

  for the Production of Documents and Exchange of Information ECF No. 167.) Under that Order,

  documents designated “highly confidential” (which could include, for example, Plaintiffs’ medical

  records or sensitive communications with loved ones that contain identifying information about

  Plaintiffs and third parties) may be shared only with a circumscribed set of individuals that includes

  Defense Counsel but does not include Defendants. Accordingly, the protections thoughtfully put

  in place by the Parties and the Court would become much more difficult to implement if

  Defendants were to represent themselves pro se. See Diedrich v. City of Newport News, Va., No.

  CIV.A.4:04CV9, 2004 WL 3436073, at *2 (E.D. Va. Nov. 29, 2004) (denying motion to withdraw

  and noting “the Court will not allow Plaintiff to proceed pro se in certain aspects of the case,

  granting him the deferential treatment such status requires, and to retain counsel for others”).

         Significantly, Defense Counsel have given no indication whether Defendants Heimbach

  and Ray are willing and able to represent themselves pro se or to find replacement counsel. District

  courts in this Circuit have repeatedly expressed concern over allowing parties to proceed pro se

  after they have been represented. See Schock v. S.C. Johnson & Son, Inc., No. 6:06CV020, 2007

  WL 2405730, at *2 (W.D. Va. Aug. 2, 2007); Diedrich, 2004 WL 3436073, at *2; cf. Amazon Web

  Servs., Inc. v. Glob. Equity Mgmt., S.A., No. 3:16CV619, 2017 WL 4052381, at *9 (E.D. Va. Sept.

  13, 2017) (denying defense counsel’s motion to withdraw without prejudice “until substitute

  counsel makes an appearance”); In re Schley, No. 09-34182-DOT, 2012 WL 1616817, at *2

  (Bankr. E.D. Va. May 9, 2012) (denying motion to withdraw and “allow[ing] debtors sufficient




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  time to retain other counsel”). Accordingly, even if the Court were to consider granting the motion

  to withdraw, such withdrawal should only be permitted to occur in an orderly manner that permits

  Defendants to find replacement counsel. See Schock, 2007 WL 2405730, at *2; Diedrich, 2004

  WL 3436073, at *2; Clayton v. Dickens, No. 7:08-CV-00592, 2009 WL 4928057, at *1–2 (W.D.

  Va. Dec. 18, 2009). 2


                                              CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court consider denying

  Defense Counsel’s motion.



         Dated: November 19, 2018                      Respectfully submitted,

                                                       /s/ Robert T Cahill
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           In their four-sentence “brief” in support of their renewed motion to withdraw, Defense
  Counsel provide no explanation for their motion beyond Defendants’ “inability or unwillingness
  to pay” outstanding attorney fees. (ECF No. 372.) But this Court has already held that such
  bare-bones reasoning is insufficient. (See ECF No. 364 at 2 (“Turning to the Motion to
  Withdraw as it relates to Robert Ray and Matthew Heimbach, the first problem is that it does not
  cite to any rule or authority why the Court should permit them to withdraw on the grounds
  asserted.”).) Accordingly, denial of the motion is further warranted.



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                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 19, 2018, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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           I further hereby certify that on November 19, 2018, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan
   a/k/a Loyal White Knights Church of
   the Invisible Empire, Inc.
   c/o Chris and Amanda Barker
   P.O. Box 54
   Pelham, NC 27311

   Moonbase Holdings, LLC
   c/o Andrew Anglin
   P.O. Box 208
   Worthington, OH 43085

   Andrew Anglin
   P.O. Box 208
   Worthington, OH 43085

   East Coast Knights of the Ku Klux Klan
   a/k/a East Coast Knights of the
   True Invisible Empire
   26 South Pine St.
   Red Lion, PA 17356

   Fraternal Order of the Alt-Knights
   c/o Kyle Chapman
   52 Lycett Circle
   Daly City, CA 94015

   Augustus Sol Invictus
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           I further hereby certify that on November 19, 2018, I also served the following non-ECF
   participant via email based upon a representation by Defendant Kline’s prior counsel that
   Defendant Kline can be reached at the e-mail address indicated below:

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   eli.f.mosley@gmail.com



                                                      /s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP

                                                      Counsel for Plaintiffs




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